Case 1:12-cr-00273-JMB        ECF No. 215, PageID.1188           Filed 06/24/15     Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                                   Case No. 1:12-cr-273

v.                                                         HON. JANET T. NEFF

AMBER MAE DORDON,

            Defendant.
____________________________________/


                           MEMORANDUM OPINION AND ORDER

       Defendant Amber Mae Dordon has filed a motion for modification or reduction of sentence

(Dkt 178) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United States

Sentencing Guidelines, made retroactive by the Sentencing Commission. The U.S. Probation

Department filed a Report of Eligibility (Dkt 192) and a Sentence Modification Report (Dkt 208)

finding defendant eligible for the reduction. The parties stipulated (Dkt 214) to the retroactive

application of the sentence amendment and requests the Court to amend the sentence.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.
Case 1:12-cr-00273-JMB           ECF No. 215, PageID.1189             Filed 06/24/15      Page 2 of 2




       Having fully considered the Sentence Modification Report (Dkt 208) and the Stipulation

(Dkt 214), the Court has determined that defendant is eligible for a reduction of sentence pursuant

to the policy statements of the U.S. Sentencing Commission.

       Therefore, IT IS HEREBY ORDERED that Defendant's motion for modification of sentence

(Dkt 178) pursuant to 18 U.S.C. § 3582(c)(2) is GRANTED. Defendant’s sentence is reduced to

a term of custody of time served with an effective date of November 1, 2015.

       IT IS FURTHER ORDERED that all other aspects of the original judgment order including

the length of term of supervised release, all conditions of supervision, fines, restitution, and special

assessment remain as previously imposed.




DATED: June 24, 2015                                     /s/ Janet T. Neff
                                                        JANET T. NEFF
                                                        United States District Judge




                                                   2
